 Case 21-12848      Doc 35    Filed 06/14/22 Entered 06/15/22 09:35:09               Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                    )               BK No.:     21-12848
SHELIA R BLOCKSON-BRUCE                   )
                                          )               Chapter: 13
                                          )
                                                          Honorable Carol A. Doyle
                                          )
                                          )
              Debtor(s)                   )

                ORDER DISMISSING CASE FOR UNREASONABLE DELAY

      This matter coming before the court on Trustee's Motion to Dismiss,

IT IS THEREFORE ORDERED that this case is dismissed for unreasonable delay pursuant to
11 U.S.C. § 1307 (c) (1).




                                                       Enter:



                                                                Honorable Carol A. Doyle
Dated: June 14, 2022                                            United States Bankruptcy Judge

 Prepared by:
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